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                  UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

GEORGE D. MILANES,
                                              Case No.: 8:24-cv-1040
             Plaintiff,

vs.

EXPERIAN INFORMATION              JURY TRIAL DEMANDED
SOLUTIONS, INC. AND AFFIRM, INC.,

             Defendants.


                                  COMPLAINT

      George D. Milanes (“Plaintiff” or “Mr. Milanes”) brings this action on an

individual basis, against Experian Information Solutions, Inc. (““Experian”) and

Affirm, Inc. (“Affirm”) for actual, statutory, and punitive damages and costs, and

attorney’s fees, for violations of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C.

§§ 1681, et. seq., arising out of Defendants’ mixing Plaintiff’s credit file with

another consumer.

                               INTRODUCTION

      1.    The computerization of our society has resulted in a revolutionary

increase in the accumulation and processing of data concerning individual American

consumers. Data technology, whether it is used by businesses, banks, the Internal


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Revenue Service or other institutions, allows information concerning individual

consumers to flow instantaneously to requesting parties. Such timely information is

intended to lead to faster and better decision-making by its recipients and, in theory,

all of society should ultimately benefit from the resulting convenience and

efficiency.

      2.      However, unfortunately this information has also become readily

available for, and subject to, mishandling and misuse. Individual consumers can and

do sustain substantial damage, both economically and emotionally, whenever

inaccurate or fraudulent information is disseminated and/or obtained about them. In

fact, the Credit Bureau Defendant Experian acknowledges this potential for misuse

and resulting damage every time it sells its credit monitoring services to a consumer.

      3.      The ongoing technological advances in the area of data processing have

resulted in a boon for the companies that accumulate and sell data concerning

individuals' credit histories and other personal information. Such companies are

commonly known as consumer reporting agencies ("CRAs").

      4.      These CRAs sell information to readily paying subscribers (i.e.,

retailers, landlords, lenders, potential employers, and other similar interested

parties), commonly called "consumer reports," concerning individuals who may be

applying for retail credit, housing, employment, or a car or mortgage loan.


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        5.   Since 1970, when Congress enacted the Fair Credit Reporting Act, 15

U.S.C. § 1681, et seq. ("FCRA"), federal law has required CRAs to implement and

utilize reasonable procedures "to assure maximum possible accuracy" of the

personal, private, and financial information that they compile and sell about

individual consumers.

        6.   “Credit is the lifeblood of the modern American economy, and for the

American consumer access to credit has become inextricably tied to consumer credit

scores as reported by credit reporting agencies.” Burke v. Experian Info. Sols., Inc.,

2011 WL 1085874, at *1 (E.D. Va. Mar. 18, 2011).

        7.   Congress made the following findings when it enacted the FCRA in

1970:

             (a)  The banking system is dependent upon fair and accurate credit
                  reporting. Inaccurate credit reports directly impair the efficiency
                  of the banking system, and unfair credit reporting methods
                  undermine the public confidence which is essential to the
                  continued functioning of the banking system.
            (b) An elaborate mechanism has been developed for investigating
                  and evaluating the credit worthiness, credit standing, credit
                  capacity, character, and general reputation of consumers.
            (c) Consumer reporting agencies have assumed a vital role in
                  assembling and evaluating consumer credit and other
                  information on consumers.
            (d) There is a need to ensure that consumer reporting agencies
                  exercise their grave responsibilities with fairness, impartiality,
                  and a respect for the consumer’s right to privacy.
15 U.S.C. § 1681(a)(1-4).


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      8.    Thus, one of the fundamental purposes of the FCRA is “to require that

consumer reporting agencies adopt reasonable procedures for meeting the needs of

commerce for consumer credit, personnel, insurance, and other information in a

manner which is fair and equitable to the consumer, with regard to the

confidentiality, accuracy, relevancy, and proper utilization of such information in

accordance with the requirements of this subchapter.”       15 U.S.C. § 1681(b).

Accordingly, “[t]he FCRA evinces Congress’ intent that consumer reporting

agencies, having the opportunity to reap profits through the collection and

dissemination of credit information, bear ‘grave responsibilities.’” Cushman v.

Trans Union, 115 F.3d 220, 225 (3d Cir. 1997).

      9.    The preservation of one's good name and reputation is also at the heart

of the FCRA's purposes:

     [W]ith the trend toward computerization of billings and the
     establishment of all sorts of computerized data banks, the individual is
     in great danger of having his life and character reduced to impersonal
     "blips" and key-punch holes in a stolid and unthinking machine which
     can literally ruin his reputation without cause, and make him
     unemployable or uninsurable, as well as deny him the opportunity to
     obtain a mortgage or buy a home. We are not nearly as much concerned
     over the possible mistaken turn-down of a consumer for a luxury item
     as we are over the possible destruction of his good name without his
     knowledge and without reason. Shakespeare said, the loss of one's good
     name is beyond price and makes one poor indeed.
Bryant v. TRW, Inc., 689 F.2d 72, 79 (6th Cir. 1982) [quoting 116 cong. Rec.

36570 (1970)] (emphasis added).

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      10.    Since 1970, when Congress enacted the Fair Credit Reporting Act, as

amended, 15 U.S.C. § 1681 et. seq., (“FCRA”), the federal law has required CRAs

to have in place and to utilize reasonable procedures “to assure the maximum

possible accuracy” of the personal and financial information that they compile and

sell about individual consumers.

      11.    The FCRA also requires CRAs to conduct a reasonable reinvestigation

to determine whether information disputed by consumers is inaccurate and record

the current status of the disputed information, or delete the disputed information,

before the end of the 30-day period beginning on the date on which the CRA receives

the notice of dispute from the consumer. This mandate exists to ensure that consumer

disputes are handled in a timely manner and that inaccurate information contained

within a consumer's credit report is corrected and/or deleted so as to not prevent said

consumer from benefiting from his or her credit and obtaining new credit.

      12.    In light of these important findings and purposes, Congress specifically

noted "a need to insure that [CRAs] exercise their grave responsibilities with

fairness, impartiality, and respect for the consumer's right to privacy." See 15 U. S.C.

§ 1681(a)(4).

      13.    The FCRA also requires furnishers of information, a creditor or other

third party that provides information about consumer to a CRA, upon notice, to


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conduct a reasonable reinvestigation of all disputes with regard to the completeness

or accuracy of any information it provides to the CRAs regarding a consumer and

modify, delete, or permanently block any items of information found to be

inaccurate, incomplete, or unverifiable after said reinvestigation is completed.

      14.    A recurring and known issue within the credit reporting industry is the

creation of “mixed files.”

      15.    A “mixed file” occurs when personal and credit information belonging

to Consumer B appears in one or more of Consumer A’s credit files.

      16.    “Mixed files” create a false description and representation of a

consumer’s credit history.

      17.    The Federal Trade Commission defined a mixed credit file as a file that

“refers to a Consumer Report in which some or all of the information pertains to

Persons other than the Person who is subject to that Consumer Report.” F.T.C. v.

TRW, Inc., 784 F. Supp. 361, 362 (N.D. Tex. 1991).

      18.    Mixed files are not a new phenomenon. Defendant Experian has been

on notice of the existence of mixed files, and the fact that its procedures for creating

credit files, including its matching algorithms, are prone to frequently cause mixed

files, for over thirty (30) years. See Thompson v. San Antonia Retail Merchants

Ass’n, 682 F.2d 509, 511 (5th Cir. 1982).


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        19.      More recently, Defendant Experian has been the subject of numerous

state attorney general actions relating to its mixed file problem.

        20.      For example, in 2015, the New York Attorney General filed charges

and settled claims with Defendant Experian over mixed files.1 See In the Matter of

Eric T. Schneiderman, Attorney General of the State of New York v. Experian

Information Solutions, Inc.; Equifax Information Services, LLC; and Trans Union

LLC.

        21.      Notwithstanding Defendant Experian’s notice and being subject to

repeated enforcement actions, mixed files continue to occur despite consumers’

unique personal identifying information, such as Social Security numbers, date of

birth, and addresses.

        22.      Another consequence of mixed files is the resulting disclosure of a

consumer’s most personal identifying and financial information absent the

consumer’s knowledge or consent, or both. This occurs when a consumer’s file is

mixed with that of another consumer, and either of those consumers applies for

credit, housing, insurance, or employment, and Defendant Experian sells

information pertaining to one consumer in response to the application of the other.


1
  https://ag.ny.gov/press-release/2015-ag-schneiderman-announces-groundbreaking-consumer-protection-settlement-
three Last visited May 17, 2022; see also https://ag-
ny.gov/pdfs/CRA%20Agreement%20Fully%20Executed%203.8.15.pdf Last visited May 17, 2022.


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      23.    Defendant Experian has been sued thousands of times wherein an

allegation was made that Defendant Experian violated the FCRA. Moreover,

Defendant Experian is sued, at a minimum, hundreds of times each year wherein an

allegation is made that Defendant Experian mixed a consumer’s credit file with that

of another consumer.

      24.    FCRA lawsuits have resulted in multi-million-dollar verdicts for

consumers who fall victim to a mixed credit file.

      25.    For example, in 2002, the jury in Judy Thomas v. Trans Union LLC,

District of Oregon, Case NO. 00-1150-JE, found Trans Union had willfully violated

the FCRA by mixing Judy Thomas’s personal and credit information with another

consumer’s and failing to unmix them despite Ms. Thomas’ numerous disputes. The

jury awarded Ms. Thomas $300,000.00 in actual damages and $5,000,000.00 in

punitive damages.      Despite the verdict, Defendant Experian continues to mix

consumers’ credit files with other consumers’ credit files.

      26.    In 2007, the jury in Angela Williams v. Equifax Information Services,

LLC, Circuit Court for Orange County Florida, Case No. 48-2003-CA-9035-0,

awarded Angela Williams $219,000.00 in actual damages and $2,700,000.00 in

punitive damages for willfully violating the FCRA by mixing Angela Williams with

another consumer and failing to unmix them despite Ms. Williams’ disputes.


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Despite the verdict, Defendant Experian continues to mix consumers’ credit files

with other consumers’ credit files.

      27.    In 2013, the jury in Julie Miller v. Equifax Information Services, LLC,

District of Oregon, Case No. 3:11-cv-01231-BR, awarded Julie Miller $180,000.00

in actual damages and more than $18,000,000.00 in punitive damages for willfully

violating the FCRA by mixing Julie Miller with another consumer and failing to

unmix them despite Ms. Miller’ numerous disputes. Despite the verdict, Defendant

Experian continues to mix consumers’ credit files with other consumers’ credit files.

      28.    More recently, a jury assessed a $60 million dollar verdict against Trans

Union for mixing innocent persons as terrorists and drug dealers by matching

consumers with the Office of Foreign Asset Control’s “terrorist alert” list based on

first and last name alone. See Ramirez v. Trans Union, LLC, No. 12-CV-00632-JSC,

2017 WL 5153280, at *1 (N.D. Cal. Nov. 7, 2017), aff’d in part, vacated in part,

rev’d in part sub nom. Ramirez v. TransUnion, LLC, 951 F.3d 1008 (9th Cir. 20020).

Despite the verdict, Defendant Experian continues to mix consumers’ credit files

with other consumers’ credit files.

      29.    “Evidence that a defendant has repeatedly engaged in prohibited

conduct while knowing or suspecting that it was unlawful would provide relevant

support for an argument that strong evidence is required to cure the defendant’s


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 disrespect for the law.” Dalton v. CAI, 257 F.3d 409, 418 (4th Cir. 2001) (noting

 that whether “other consumers have lodged complaints similar to Dalton’s against

 CAI” is relevant to willfulness under the FCRA).                Moreover, repeated

 noncompliance with statutory duties can establish that the defendants acted willfully.

 See Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 53 (2007) (punitive damages can be

 awarded based on “reckless disregard for a statutory duty”).

       30.    No less than three federal Courts of Appeal have held a consumer

 reporting agency violates 15 U.S.C. § 1681e(b) and may be found to have willfully

 violated the FCRA when it mixes a consumer’s file with another consumer.

       31.    Notably, the Federal Trade Commission has specifically warned

 consumer reporting agencies, including Experian, to review their procedures when

 a mixed file occurs.

       32.    Despite federal and state law, Congressional mandate, federal and state

 enforcement actions, and thousands of consumer lawsuits, mixed credit files remain

 a significant problem for innocent consumers, including Plaintiff.

       33.    Plaintiff’s claims arise out of the Defendant Experian’s blatantly

 inaccurate credit reporting, wherein Defendant Experian published in a consumer

 report about Plaintiff the information of another consumer because Defendant

 Experian mixed Plaintiff’s credit file with that of an unrelated consumer.


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       34.    Accordingly, Plaintiff brings claims against Defendant Experian for

 failing to follow reasonable procedures to assure the maximum possible accuracy of

 Plaintiffs credit reports, in violation of the FCRA, 15 U.S.C. § 1681e(b), and failing

 to conduct a reasonable reinvestigation to determine whether information Plaintiff

 disputed was inaccurate and record the current status of the disputed information, or

 delete the disputed information from Plaintiff’s credit file, in violation of the FCRA,

 15 U.S.C. § 1681i.

       35.    Plaintiff also brings a claim against Defendant Affirm for failing to

 fully and properly reinvestigate Plaintiff's disputes and review all relevant

 information provided by Plaintiff and the Credit Bureau Defendant Experian, in

 violation of the FCRA, 15 U.S.C. § 1681s-2(b)(1).

       36.    As part of this action, Plaintiff seeks actual, statutory, and punitive

 damages, costs and attorneys' fees from the Defendants for their willful and/or

 negligent violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq., as

 described herein.

                                      PARTIES

       37.    George D. Milanes (“Plaintiff” or “Mr. Milanes”) is a natural person

 residing in Wimauma, Florida, and is a “consumer” as that term is defined in 15

 U.S.C. § 1681a(c).


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       38.    Defendant Experian Information Solutions, Inc. ("Defendant Experian"

 or "Experian") is a corporation with a principal place of business located at 475

 Anton Boulevard, Costa Mesa, California 92626, and is authorized to do business in

 the State of Florida, including within this District. Experian can be served at its

 registered agent address at CT Corporation System, 330 N. Brand Blvd, Glendale,

 CA 91203

       39.    Experian is a "consumer reporting agency" as defined in 15 U.S.C. §

 1681a(f). Experian is regularly engaged in the business of assembling, evaluating,

 and disseminating information concerning consumers for the purpose of furnishing

 consumer reports, as defined in 15 U.S.C. § 1681a(d), to third parties.

       40.    Defendant Affirm, Inc. ("Affirm") is an American public company with

 a principal place of business located at 650 California Street, FL 12, San Francisco,

 CA 94108 and is authorized to do business in the State of Florida, including within

 this District. Defendant Affirm may be served through its Florida registered agent,

 c/o CT Corporation, located at 1200 South Pine Island Rd., Plantation, FL 33324.

       41.    Affirm, Inc. is a credit grantor and "furnisher" of consumer information,

 as defined in 15 U.S.C. § 1681s-2(b).




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                              JURISDICTION AND VENUE

       42.      This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

 § 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

 in any appropriate court of competent jurisdiction.

       43.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

 because a substantial part of the events or omissions giving rise to Plaintiff's claims

 occurred in this District.

                                         FACTS

                      Summary of the Fair Credit Reporting Act
       44.      The FCRA governs the conduct of consumer reporting agencies in an

 effort to preserve the integrity of the consumer banking system and to protect the

 rights of consumers to fairness and accuracy in the reporting of their credit

 information.

       45.      The FCRA was designed to protect consumers from the harmful effects

 of inaccurate information reported in consumer reports (commonly referred to as

 “credit reports”). Thus, Congress enshrined the principles of “fair and accurate credit

 reporting” and the “need to ensure that consumer reporting agencies exercise their

 grave responsibilities with fairness” in the very first provision of the FCRA. See 15

 U.S.C. § 1681(a).



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       46.   Specifically, the statute was intended to ensure that “consumer

 reporting agencies adopt reasonable procedures for meeting the needs of commerce

 for consumer credit, personnel, insurance, and other information in a manner which

 is fair and equitable to the consumer, with regard to the confidentiality, accuracy,

 relevancy, and proper utilization of such information. See 15 U.S.C. § 1681(b).

       47.   To that end, the FCRA imposes the following twin duties on consumer

 reporting agencies: (i) consumer reporting agencies must devise and implement

 reasonable procedures to ensure the “maximum possible accuracy” of information

 contained in consumer reports (15 U.S.C. § 1681e(b)); and (ii) consumer reporting

 agencies must reinvestigate the facts and circumstances surrounding a consumer’s

 dispute and timely correct any inaccuracies (15 U.S.C. § 1681i).

       48.   The FCRA provides consumers with a private right of action against

 consumer reporting agencies that willfully or negligently fail to comply with their

 statutory obligations under the FCRA.

             Defendant Experian’s Processing of Credit Information
       49.   Defendant Experian regularly receives information from various

 sources around the country including banks, credit unions, automobile dealers,

 student loan providers, public information vendors, and others.




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       50.    These sources are known as “furnishers” within the credit reporting

 industry and under the FCRA.

       51.    Defendant Experian collects information from thousands of furnishers.

       52.    The process by which Defendant Experian receives, sorts, and stores

 information is largely electronic.

       53.    Furnishers report credit information to Defendant Experian through the

 use of coded tapes that are transmitted to Defendant Experian on a monthly basis

 through software known as Metro 2.

       54.    Defendant Experian takes credit information reported by furnishers and

 creates consumer credit files.

       55.    Defendant Experian maintains credit files on more than 200 million

 consumers.

       56.    Credit files are updated electronically by the furnishers to reflect new

 information regarding the reported accounts (sometimes referred to within the

 industry as “tradelines”).

                    Defendant Experian’s Mixed File Problem
       57.    Defendant Experian knows that different consumers have similar

 names.




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          58.   Defendant Experian knows that different consumers can have similar

 Social Security numbers.

          59.   Defendant Experian knowns that different consumers with similar

 names can also have similar Social Security numbers.

          60.   Defendant Experian knows that public records often do contain

 identifying information such as Social Security numbers or dates of birth.

          61.   Defendant Experian matches tradelines and public records to a

 consumer credit file by comparing the information about the consumer associated

 with the tradeline or public record to the information they maintain about the

 consumer in the consumer’s credit file or files.

          62.   Defendant Experian accomplishes this matching of credit information

 to consumer credit files through the use of certain matching algorithms or database

 rules.

          63.   From time to time, Defendant Experian’s matching algorithms match

 information belonging to one consumer to the credit file of another consumer;

 resulting in what’s commonly known as in the credit reporting industry as a mixed

 or merged credit file.

          64.   Mixed files are not a new phenomenon. In fact, as long ago as the early

 1990s, the Federal Trade Commission (“FTC”) (the government agency charged


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 with enforcement of the FCRA), entered into individual Consent Decrees with each

 of the major CRAs, specifically including Defendant Experian, regarding its

 significant failures and deficiencies with respect to mixed files.

         65.   Despite Defendant Experian's long-standing and specific knowledge of

 the mixed file problem, Plaintiff’s credit report was still generated by Defendant

 Experian containing information belonging to another consumer.

         66.   A mixed or merged credit file is the result of Defendant Experian’s

 inaccurately mixing personal identifying information and credit information and/or

 an entire credit file belonging to one consumer into the credit file of another

 consumer.

         67.   There are many different possible causes for the mixing of credit files

 but all of them relate in one way or another to the algorithms and/or database rules

 used by Defendant Experian to match personal identifying information and credit

 information, including public record information, to a particular consumers’ credit

 file.

         68.   The success or failure of these algorithms or rules is both a function of

 the rules themselves and of the information provided by the furnishers of the

 tradeline information to Defendant Experian.




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       69.    A mixed consumer report could be caused by an improper algorithm

 just as it could be caused by the inaccurate reporting of a consumer’s personal

 “indicative” information (e.g., name, Social Security number, address, date of birth,

 etc.) by the furnishers to Defendant Experian.

       70.    Accordingly, the database rules determine which credit files are

 selected by the algorithm and merged to create a complete consumer report.

       71.    Therefore, a mixed consumer report is sometimes the result of the

 mixing of two or more consumer credit files belonging to different consumers into

 one consumer report.

                   Plaintiff Applies for Financing for a New Truck
       72.    On or about November 16, 2023, Plaintiff went to Courtesy Chrysler to

 trade in his truck and purchase a new one. Plaintiff’s current truck was no longer

 under warranty and was starting to have minor issues. Plaintiff wanted to trade in

 his current truck while it was still had value and purchase a new truck that would be

 under warranty.

       73.    On or about November 16, 2023, Plaintiff submitted a credit application

 at the Chrysler dealership for the new truck.

       74.    For Courtesy Chrysler to make a determination on Plaintiff’s credit

 application, it would need to obtain copies of his credit files. Plaintiff provided


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 Courtesy Chrysler with his personal identification information, including his Social

 Security number, and authorized it to obtain copies of his credit files.

       75.    On or about November 16, 2023, Defendant Experian sold a credit

 report about Plaintiff to Courtesy Chrysler in response to Plaintiff’s credit

 application for the new truck.

       Courtesy Chrysler Offers Plaintiff a Loan with High Interest Rate
       76.    On or about November 16, 2023, Plaintiff was approved for financing

 at the Courtesy Chrysler dealership, but at a higher interest rate.

       77.    Plaintiff asked why he was approved at such a high interest rate and the

 representative at the dealership explained it was because he had derogatory

 information on his credit report.

       78.    Plaintiff was shocked and dismayed at the allegation that he had

 derogatory information on his credit report as he had never had a late payment.

                   Plaintiff Obtains a Copy of his Credit Reports

       79.    Shortly after Courtesy Chrysler informed Plaintiff about the derogatory

 information on his credit, Plaintiff reviewed his credit reports with Defendant

 Experian and non-parties Trans Union and Equifax.

       80.    Upon review, Plaintiff was shocked to learn that Defendant Experian

 was reporting information that did not belong to him.


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       81.    Upon reviewing the contents of his credit file with Defendant Experian,

 Plaintiff was confused by the appearance of several pieces of information that did

 not belong to him.

       82.    Specifically, Defendant Experian was reporting the following account

 that did not belong to Plaintiff:

                        Affirm Account
                        Account Number: OYRAXXXX
                        Date Opened: February 7, 2022
                        Account Past Due, Sent to Collections, Written Off with a
                        Balance of $391.

       83.    Further, Defendant was reporting the following addresses that did not

 belong to Plaintiff:

              a.        1540 Thieriot Ave, BSMT, Bronx, NY 10460-3404

              b.        2400 Adam Clayton Powell Jr., Blvd., New York, NY 10030

       84.    In addition, Defendant was reporting the following spouse name, Juan,

 that does not belong to Plaintiff.

       85.    By reporting the aforementioned credit account and other personal

 information in the credit file presumably about Plaintiff, despite the fact that the

 account and information do not belong to Plaintiff, Defendant Experian failed to

 follow reasonable procedures to assure the maximum possible accuracy of the




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 information contained within Plaintiff’s credit files and consumer reports, in

 violation of 15 U.S.C. § 1681e(b).

                  Plaintiff’s First Dispute to Defendant Experian

       86.     In or about December 2023, worried that something was very wrong

 with his credit file, Plaintiff disputed the Affirm account and the other personal

 identifying information with Experian. Specifically, Plaintiff disputed the

 information that did not belong to him.

            Defendant Experian’s Unreasonable Dispute Reinvestigation

       87.     Upon information and belief, Defendant Experian sent Defendant

 Affirm an automated credit dispute verification (“ACDV”) pursuant to Plaintiff’s

 December 2023 dispute to Experian.

       88.     Upon information and belief, Defendant Experian failed to conduct a

 reasonable reinvestigation of Plaintiff’s disputes.

       89.     In late December 2023, Defendant Experian responded to Plaintiff's

 dispute and refused to remove the Affirm account. The only information Defendant

 Experian corrected was the spouse name "Juan" and the New York address, 2400

 Adam Clayton Powell Jr., Blvd., New York, NY 10030-1848.

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                 Plaintiff’s Second Dispute to Defendant Experian

       90.     Shortly after receiving Defendant Experian’s response to his first

 dispute, Plaintiff submitted a second dispute with Defendant Experian disputing the

 Affirm account and the New York address, 1540 Thieriot Ave, BSMT, Bronx, NY

 10460-3404.

       91.     In response to Plaintiff’s second dispute, Defendant Experian continued

 to report the Affirm account and the 1540 Thieriot Ave, BSMT, Bronx, NY 10460-

 3404 address on his credit file.

       92.     Defendant Experian failed to conduct a reasonable investigation of

 Plaintiff’s December 2023 disputes, or any reinvestigation whatsoever, to determine

 whether the disputed information was inaccurate and record the current status of the

 disputed information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

    The Credit Bureaus’ Method for Considering Consumer Credit Report
                                 Disputes
       93.     The credit industry has constructed a method of numeric-alpha codes

 for considering consumer credit report disputes. See 15 U.S.C. § 1681i(a)(5)(D).

       94.     The credit bureaus, Equifax, Experian, Trans Union, and Innovis, have

 thus created the Online Solution for Complete and Accurate Reporting, or e-

 OSCAR, as the credit industries' standard of performance. e-OSCAR allows the

 credit bureaus to create and data furnishers to respond to disputes initiated by

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 consumers by routing credit reporting agency-created prompts for automated

 consumer dispute verifications to the appropriate data furnishers. e-OSCAR utilizes

 a numeric-alpha language specific to the credit reporting industry.

       95.    That lexicon or unique language is commonly referred to in the credit

 reporting industry as "Metro 2 Format" or “Metro 2.”

       96.    It is also known industry wide as the CDIA's "Credit Reporting

 Resource Guide."

       97.    Metro 2 is driven by numeric codes that translate into specific alpha

 representations about consumers' creditworthiness and character that will ultimately

 appear on credit reports issued to third parties who make credit, insurance, rental,

 and employment decisions regarding consumers.

       98.    Metro 2 codes are used on an industry wide form known within the

 credit industry as an Automated Consumer Dispute Verification ("ACDV")

 electronic form.

       99.    The ACDVs have many fields in their body for use in effecting

 thorough and complete communications between data furnishers and the credit

 reporting agencies.

       100. These ACDV "fields" have various titles for the many substantive areas

 into which the Metro 2 codes can be entered.


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        101. Upon receiving a dispute from a consumer, the credit bureaus have an

 automated system that prepares ACDVs that are sent to each of the data furnishers

 that are reporting the credit accounts disputed by a consumer.

        102. The data furnishers then have an obligation under the FCRA to conduct

 a reasonable reinvestigation with respect to the disputed credit account and review

 all relevant information provided by the consumer with the dispute to determine

 whether the disputed credit account information is accurate and/or belongs to the

 disputing consumer. See 15 U.S.C. § 1681s-2(b).

        103. Once the data furnisher completes its reinvestigation, it will code the

 ACDV accordingly, representing either that the disputed account was verified as

 accurate and belonging to the disputing consumer, updating information related to

 the account, or deleting the account entirely, and return the ACDV to the respective

 credit bureau(s) via e-OSCAR.

              Defendant Affirm’s Unreasonable Dispute Reinvestigation

        104. Upon information and belief, in or about December 2023, Defendant

 Affirm received two separate ACDVs from Defendant Experian’s and failed to

 conduct a reasonable investigation with respect to the information disputed by

 Plaintiff.




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       105. Upon information and belief, Defendant Affirm failed to review all

 relevant information provided by Defendant Experian regarding Plaintiff’s dispute

 tendered in or about December 2023.

       106. Upon information and belief, Defendant Affirm verified the disputed

 information as accurate to Defendant Experian in or about December 2023.

       107. Defendant Affirm violated 15 U.S.C. § 1681s-2b by failing to conduct

 a reasonable investigation with respect to the disputed information, failing to review

 all relevant information available to it, and failing to modify, delete, or permanently

 block the disputed information that was inaccurate, incomplete or unverifiable.

          Plaintiff’s Third and Fourth Disputes to Defendant Experian

       108. On or about February 2, 2024, Plaintiff obtained a copy of his Annual

 Credit Report from Defendant Experian and the following mixed information

 remained on his credit report:

              (a)       Affirm Account
                        Account Number: OYRAXXXX
                        Date Opened: February 7, 2022
                        Account Past Due, Sent to Collections, Written Off with a
                        Balance of $391.

       109. Further, Defendant was reporting the following addresses which did not

 belong to Plaintiff:

              (a)       1540 Thieriot Ave, BSMT, Bronx, NY 10460-3404


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       110. Upon information and belief, Defendant failed to unmix Plaintiff’s

 credit file from that of the other consumer and likely Defendant continued to report

 the other consumer’s information to Plaintiff’s credit file.

       111. On February 12, 2024, Plaintiff disputed via certified mail to Defendant

 Experian.

       112. Along with his dispute letter, Plaintiff enclosed a copy of his driver’s

 license and social security card to better assist Defendant Experian in identifying

 him in its system.

       113. Plaintiff requested that Defendant reinvestigate the disputed

 information, correct the reporting, and send him a corrected copy of his credit report.

       114. On Feb. 27, 2024, Plaintiff received a letter from Defendant Experian

 stating that they believed the dispute was not sent by Plaintiff.

       115. On March 7, 2024, Plaintiff mailed another dispute letter to Defendant

 Experian.

       116. In or around early April 2024, Plaintiff received a letter from Defendant

 Experian dated March 20, 2024, again stating Defendant Experian did not believe

 the dispute had come from Plaintiff.

       117. On or about April 3, 2024, Plaintiff called Defendant Experian and

 spoke with a representative named Kayla. Plaintiff explained that the previous


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 dispute letters had come from him. The representative told Plaintiff that they had

 noted their system that the letter came from him and that they were going to notify

 Defendant Affirm of Plaintiff’s dispute.

       118. Plaintiff received correspondence dated April 18, 2024, from

 Defendant Experian stating that Affirm had certified the disputed information as

 accurate.

       119.    As of the date of this filing, the information belonging to the unrelated

 consumer remains on Plaintiff’s credit report.

       120. Defendant Experian violated 15 U.S.C. § 1681e(b) by failing to

 establish or to follow reasonable procedures to assure maximum possible accuracy

 of the credit information it published and maintained concerning Plaintiff.

       121. Upon information and belief, because Defendant Experian continues to

 mix Plaintiff’s credit file with that of the unrelated consumer, Defendant Experian

 continues to sell Plaintiff’s credit file in response to applications and inquiries

 pertaining to the unrelated consumer.

       122. As a result of the “mixed file,” Defendant Experian made it practically

 impossible for Plaintiff to obtain credit.




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        123. Plaintiff has not tried to buy a new truck again because he knows that

 this inaccuracy will affect his interest rates and he does not want to pay higher

 interest rates.

        124. In addition to not being able to buy a new truck, Plaintiff delayed

 renovating his home, because he did not want to apply for financing while Defendant

 Experian continued to report and Defendant Affirm continued to furnish a

 derogatory account that did not belong to him. Plaintiff feared that the financing

 would be at a much higher interest rate then he would be comfortable paying.

        125. Plaintiff also wanted to limit the amount of hard inquires on his credit,

 which would adversely affect his credit.

        126. At all times pertinent hereto, Defendant Experian was acting by and

 through their agents, servants, and/or employees who were acting within the course

 and scope of their agency or employment, and under the direct supervision and

 control of the Defendant Experian herein.

        127. At all times pertinent hereto, Defendant Experian’s conduct, as well as

 that of its respective agents, servants, and/or employees, was intentional, willful,

 reckless, grossly negligent and in utter disregard for federal law and the rights of

 Plaintiff herein.




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       128. As a standard practice, Defendant Experian does not conduct

 independent investigations in response to consumer disputes. Instead, it merely

 parrots the response of the credit furnisher, despite numerous court decisions

 admonishing this practice. See Cushman v. Trans Union Corp., 115 F.3d 220, 225

 (3d Cir. 1997) (The ‘grave responsibilit[y]’ imposed by § 1681(a) must consist of

 something more than merely parroting information received from other sources.

 Therefore, a ‘reinvestigation’ that merely shifts the burden back to the consumer and

 the credit grantor cannot fulfill the obligations contemplated by the statute.”);

 Apodaca v. Discover Fin. Servs., 417 F. Supp. 2d 1220, 1230-31 (D.N.M. 2006)

 (noting that credit reporting agencies may not rely on automated procedures that

 make only superficial inquiries once the consumer has notified it that information is

 disputed); Gorman v. Experian Info. Sols., Inc., 2008 WL 4934047, at *6 (S.D.N.Y.

 Nov. 19, 2008).

       129. Defendant Experian is aware of the shortcomings of its procedures and

 intentionally chooses not to comply with the FCRA to lower its costs. Accordingly,

 Defendant Experian’s violations of the FCRA are willful.

       130. As a result of Defendant Experian’s conduct, action, and inaction,

 Plaintiff suffered damages including but not limited to, the loss of his right to keep

 his private financial information confidential; the loss of his right to information


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 about who was viewing his private financial information and how his private

 financial information was improperly implicated in the credit applications of

 another; damage by loss of credit; loss of ability to purchase and benefit from his

 good credit rating; detriment to his credit rating; the expenditure of time and money

 disputing and trying to correct the inaccurate credit reporting; the expenditure of

 labor and effort disputing and trying to correct the inaccurate credit reporting; and

 emotional distress including the mental and emotional pain, anguish, humiliation,

 and embarrassment of credit denials and having another consumer’s personally

 identifying information and credit information, including inquiries, mixed into

 Plaintiff’s credit file.

                               CLAIMS FOR RELIEF
                                     COUNT I
                               15 U.S.C. § 1681e(b)
     Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                     Accuracy
               (First Claim for Relief Against Defendant Experian)

        131. Plaintiff re-alleges and incorporates by reference the allegations set

 forth in preceding paragraphs as if fully stated herein.

        132. The FCRA imposes a duty on consumer reporting agencies to devise

 and implement procedures to ensure the “maximum possible accuracy” of consumer

 reports, as follows:


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       Whenever a consumer reporting agency prepares a consumer report, it
       shall follow reasonable procedures to assure maximum possible
       accuracy of the information concerning the individual about whom the
       report relates.

 15 U.S.C. §1681e(b) (emphasis added).

       133. On at least one occasion, Defendant Experian prepared patently false

 consumer reports concerning Plaintiff.

       134. Defendant Experian mixed another consumer’s personal and credit

 account information into Plaintiff’s credit file, thereby misrepresenting Plaintiff, and

 ultimately, Plaintiff’s creditworthiness.

       135. Defendant Experian violated 15 U.S.C. § 1681e(b) by failing to

 establish or to follow reasonable procedures to assure maximum possible accuracy

 in the preparation of the credit reports and credit files it published and maintained

 concerning Plaintiff.

       136. As a result of Defendant Experian’s conduct, action, and inaction,

 Plaintiff suffered damages including but not limited to, the loss of his right to keep

 his private financial information confidential; the loss of his right to information

 about who was viewing his private financial information and how his private

 financial information was improperly implicated in the credit applications of

 another; damage by loss of credit; loss of ability to purchase and benefit from his

 good credit rating; detriment to his credit rating; the expenditure of time and money

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 disputing and trying to correct the inaccurate credit reporting; the expenditure of

 labor and effort disputing and trying to correct the inaccurate credit reporting; and

 emotional distress including the mental and emotional pain, anguish, humiliation,

 and embarrassment of credit denials and having another consumer’s personally

 identifying information and credit information, including inquiries, mixed into

 Plaintiff’s credit file.

        137. Defendant Experian’s conduct, actions, and inactions was willful,

 rendering them liable for actual or statutory damages, and punitive damages in an

 amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. Alternatively,

 Defendant was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

        138. Plaintiff is entitled to recover attorneys’ fees and costs from Defendant

 Experian in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

 and/or § 1681o.

                                     COUNT II
                                  15 U.S.C. § 1681i
                  Failure to Perform a Reasonable Reinvestigation
               (Second Claim for Relief Against Defendant Experian)

        139. Plaintiff re-alleges and incorporates by reference the allegations set

 forth in preceding paragraphs as if fully stated herein.

        140. The FCRA mandates that Defendant Experian conduct a reasonable

 reinvestigation of the accuracy of information “[i]f the completeness or accuracy of

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 any item of information contained in a consumer’s file” is disputed by the consumer.

 See 15 U.S.C. § 1681i(a)(1). The FCRA imposes a 30-day time limit for the

 completion of such an investigation. Id.

        141. The FCRA provides that if Defendant Experian conducts its

 reinvestigation of disputed information and confirms that the information is, in fact,

 inaccurate or it is unable to otherwise verify the accuracy of the disputed

 information, it is required to delete the item of information from the consumer’s file.

 See 15 U.S.C. § 1681i(a)(5)(A).

        142. Plaintiff initiated a dispute with Defendant Experian and disputed

 inaccurate information reporting in his credit file and requested that Defendant

 Experian correct and/or delete the inaccurate, misleading, and highly damaging

 information belonging to an unrelated consumer.

        143. Defendant Experian failed to respond to Plaintiff’s dispute and

 conducted no investigation of Plaintiff’s dispute, or such investigation, if any, was

 so unreasonable as to allow patently false and highly damaging information to

 remain in Plaintiff’s credit file.

        144. Defendant Experian violated 15 U.S.C. § 1681i by failing to conduct a

 reasonable reinvestigation to determine whether the disputed information was

 inaccurate and record the current status of the disputed information, or delete the


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 disputed information, before the end of the 30-day period beginning on the date on

 which it received notice of Plaintiff’s dispute; and by failing to maintain reasonable

 procedures with which to filter and verify information in Plaintiff’s credit files.

        145. As a result of Defendant Experian’s conduct, action, and inaction,

 Plaintiff suffered damages including but not limited to, the loss of his right to keep

 his private financial information confidential; the loss of his right to information

 about who was viewing his private financial information and how his private

 financial information was improperly implicated in the credit applications of

 another; damage by loss of credit; loss of ability to purchase and benefit from his

 good credit rating; detriment to his credit rating; the expenditure of time and money

 disputing and trying to correct the inaccurate credit reporting; the expenditure of

 labor and effort disputing and trying to correct the inaccurate credit reporting; and

 emotional distress including the mental and emotional pain, anguish, humiliation,

 and embarrassment of credit denials and having another consumer’s personally

 identifying information and credit information, including inquiries, mixed into

 Plaintiff’s credit file.

        146. Defendant Experian’s conduct, actions, and inactions was willful,

 rendering them liable for actual or statutory damages, and punitive damages in an

 amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. Alternatively,


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 Defendant Experian was negligent, entitling Plaintiff to recover under 15 U.S.C. §

 1681o.

       147. Plaintiff is entitled to recover attorneys’ fees and costs from Defendant

 Experian in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

 and/or § 1681o.

                                  COUNT III
                             15 U.S.C. § 1681s-2(b)
  Failure to Conduct an Investigation of the Disputed Information and Review
              all Relevant Information Provided by the Consumer
               (Only Claim for Relief Against Defendant Affirm)

       148. Plaintiff re-alleges and incorporates by reference the allegations set

 forth in preceding paragraphs as if fully stated herein.

       149.    Defendant Affirm furnished the inaccurate information relating to

 Plaintiff to the national credit bureaus, including but not limited to Experian.

       150. Defendant Affirm violated 15 U.S.C. § 1681s-2(b) by failing to

 investigate Plaintiff’s dispute, or otherwise by failing to fully and properly

 investigate Plaintiff’s dispute(s), including but not limited to failing to review all

 relevant information regarding the same; by failing to permanently and lawfully

 correct its own internal records to prevent the re-reporting of the inaccurate

 information relating to Plaintiff to the national credit bureaus, including but not

 limited to Experian; and, by failing to cease furnishing inaccurate information


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 relating to Plaintiff to the national credit bureaus, including but not limited to

 Experian.

       151. As a result of Defendant Affirm’s conduct, action, and inaction,

 Plaintiff suffered damage by loss of credit; loss of ability to purchase and benefit

 from his good credit rating; detriment to his credit rating; the expenditure of time

 and money disputing and trying to correct the inaccurate credit reporting; the

 expenditure of labor and effort disputing and trying to correct the inaccurate credit

 reporting; and emotional distress including the mental and emotional pain, anguish,

 humiliation, and embarrassment of credit denials.

       152. Defendant Affirm’s conduct, action, and inaction were willful,

 rendering them liable for actual or statutory damages, and punitive damages in an

 amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. Alternatively,

 they were negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

       153. Plaintiff is entitled to recover attorneys’ fees and costs from Defendant

 Affirm in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

 and/or § 1681o.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

  i.   Determining that Defendants negligently and/or willfully violated the FCRA;

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  ii.   Awarding Plaintiff actual, statutory, and punitive damages as provided by the

        FCRA;

 iii.   Awarding Plaintiff reasonable attorneys’ fees and costs as provided by the

        FCRA; and,

 iv.    Granting further relief, in law or equity, as this Court may deem appropriate

        and just.

                           DEMAND FOR JURY TRIAL

        Plaintiff is entitled to and hereby demands a trial by jury on all issues so

 triable.

        RESPECTFULLY SUBMITTED this 30th day of April 2024

                                        CONSUMER ATTORNEYS

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